Case 2:90-cv-00520-KJM-SCR               Document 1889    Filed 07/11/06      Page 1 of 2

 1 BILL LOCKYER
   Attorney General of the State of California
 2 JAMES M. HUMES
   Chief Assistant Attorney General
 3 FRANCES T. GRUNDER
   Senior Assistant Attorney General
 4 ROCHELLE C. EAST
   Supervising Deputy Attorney General
 5 LISA A. TILLMAN, State Bar No. 126424
   Deputy Attorney General
 6  1300 I Street, Suite 125
    Post Office Box 944255
 7  Sacramento, CA 94244-2550
    Telephone: (916) 327-7872
 8  Fax: (916) 324-5205
    Email: Lisa.Tillman@doj.ca.gov
 9
   Attorneys for Defendants
10 48149286-CF1997CS0003

11                               IN THE UNITED STATES DISTRICT COURT

12                             FOR THE EASTERN DISTRICT OF CALIFORNIA

13                                       SACRAMENTO DIVISION

14

15    RALPH COLEMAN, et al.,                                     NO. CIV S-90-0520 LKK JFM P

16                                                 Plaintiffs,   NOTICE OF FILING SEALED
                                                                 DOCUMENTS
17                      v.

18    ARNOLD SCHWARZENEGGER, et al.,

19                                               Defendants.

20

21                           NOTICE OF FILINGS SEALED DOCUMENTS
22

23

24

25

26

27

28

     Notice of Filing Sealed Documents                             Coleman, et al. v. Schwarzenegger, et al.
                                                   1
Case 2:90-cv-00520-KJM-SCR                 Document 1889      Filed 07/11/06        Page 2 of 2

 1                  1. Defendants' response to special master’s report on defendants’ budget requests for

 2 staffing to implement the revised program guide and to joinder of department of finance;

 3                  2. Separate Statement of Objections;

 4                  3. Declaration of Jerue;

 5                  4. Notice of Lodging of Exhibits.

 6                  Dated: July 11, 2006

 7                                                 Respectfully submitted,

 8                                                 BILL LOCKYER
                                                   Attorney General of the State of California
 9                                                 JAMES M. HUMES
                                                   Chief Assistant Attorney General
10
                                                   FRANCES T. GRUNDER
11                                                 Senior Assistant Attorney General
                                                   ROCHELLE C. EAST
12                                                 Supervising Deputy Attorney General
13

14
                                                   / s / Lisa A. Tillman
15                                                 LISA A. TILLMAN
                                                   Deputy Attorney General
16                                                 Attorneys for Defendants
17

18

19

20

21

22

23

24

25

26

27
     CF1997CS0003

28   30139030.wpd




     Notice of Filing Sealed Documents                                   Coleman, et al. v. Schwarzenegger, et al.
                                                        2
